Case 2:20-cv-05477-PBT Document 1-1 Filed 11/03/20 Page 1 of 3




                          EXHIBIT A
             Case 2:20-cv-05477-PBT Document 1-1 Filed 11/03/20 Page 2 of 3




                                              November 1, 2020

 Via Email – voters@montco.org &                              Via Email – val@montcopa.org
 Facsimile – 610-292-4527                                     Facsimile – 610-292-4527
 Montgomery County Board of Elections                         Valerie A. Arkoosh, MD, MPH
 P.O. Box 311                                                 Montgomery County Board of Elections
 Norristown, PA 19404-0311                                    P.O. Box 311
                                                              Norristown, PA 19404-0311
 Via Email – ken@montcopa.org
 Facsimile – 610-292-4527                                     Via Email – coo@montcopa.org
 Kenneth E. Lawrence Jr., Chair                               Facsimile – 610-292-4527
 Montgomery County Board of Elections                         Lee Soltysiak, Chief Clerk
 P.O. Box 311                                                 Montgomery County Board of Elections
 Norristown, PA 19404-0311                                    P.O. Box 311
                                                              Norristown, PA 19404-0311
 Via Email – JGale@montcopa.org
 Facsimile – 610-292-4527                                     Via Email – JStein1@montcopa.org
 Joseph C. Gale, Vice Chair                                   Facsimile – 610-292-4527
 Montgomery County Board of Elections                         Josh Stein, Esquire, County Solicitor
 P.O. Box 311                                                 One Montgomery Plaza
 Norristown, PA 19404-0311                                    Suite 800
                                                              Norristown, PA 19404

       Re:     LIST OF MONTCO VOTERS WHO REQUESTED AND/OR WERE SENT
               MAIL-IN BALLOTS

To the Honorable Members of the Montgomery County Board of Elections:

       Further to my letter to the Board dated October 30, 2020, on behalf of Kathy Barnette, the
Republican candidate for the United States House of Representatives, Pennsylvania 4th District, and
her campaign committee, the Friends for Kathy Barnette (the “Barnette Parties”), my client is formally
requesting the following information:

   1. A complete list of all Montgomery County electors from all parties who requested and/or were
      sent mail-in or absentee ballots. This list should be provided electronically in one of the
      database formats, such as CSV (comma separated values). If you do not maintain such
      electronic/computer lists in a common database format, please provide the
      computerized/electronic list in the format used by the county and instructions for how to access
      the information. If the electronic/computerized format used by the county to maintain this list is
      proprietary and not available to the public, parties and candidates equally, then please provide
      the list in the same manner as you have to other requestors. We expect, at a minimum, that this

              380 RED LION ROAD • SUITE 103 • HUNTINGDON VALLEY, PA • 19006
                       PHONE • 267.255.6864 • FACSIMILE • 215.434.7491
                                E - m a i l • A Te i t e l m a n @ t e i t e l a w. c o m
                                                                                                  EX A - 1
            Case 2:20-cv-05477-PBT Document 1-1 Filed 11/03/20 Page 3 of 3
                                           –2–                              November 1, 2020

       list will include the name of the voters, their addresses, voting precincts, party affiliation and
       the date(s) any such mail-in or absentee ballots were requested, the date(s) the ballots were sent
       to the voters and the date such ballots were returned by the voters for the canvass.

   2. Please provide the Barnette Parties with a complete written set of the procedures the Board is
      employing regarding the handling of mail-in and absentee ballots including, without limitation,
      the processes for opening the outer mailing envelopes, the inner security envelopes and the
      basis for qualifying/disqualifying, accepting or rejecting a ballot before the inner security
      envelope is opened. If there are any ballots which have already been determined to be invalid
      for any reason, please supply the Barnette Parties with a list of the affected electors and the
      measures taken to contact them so that they can place a valid ballot by November 3rd. At
      today’s meeting, ballot consideration standards and training for the ballot handlers was
      discussed. Please provide copies of the training materials so that we also know what standards
      and practices are being applied.

   3. As we previously informed you, the Barnette Parties intend to be present and observe, in
      accordance with the PA Election Code, the entire processing of the mail-in/absentee ballots
      including, without limitation, the opening of the outer mailing envelopes and each step
      thereafter.

       However, based on our tour today of the cavass facility located at the Montco Health and
       Human Services Building, 1430 DeKalb Street, Norristown, PA 19404, we were shocked at the
       poor observation arrangements that have been put into place for the watchers and
       representatives of the parties and the candidates. The “pen” like area at the end of the scanner
       room, supplemented by a single television with camera feeds (the functionality of which could
       not be demonstrated today, although requested) and a second remote room with two televisions,
       is unacceptable. For example, most of the envelope opening room cannot be visualized from
       the holding pen - - which brings us to the most fundamental problem of all. The opening in the
       wall separating the scanner area from the opening area is not only inadequate to allow proper
       observation by the observer, it makes it clear there are two rooms to be watched and not one.

        We can offer you several options to make the canvass as transparent and fair as it should be.
First and foremost, we urge you to assent to our making our own video and audio recordings as
discussed in my letter dated October 30, 2020. At a minimum, you should provide all watchers with
the ability to access the live feed of the video cameras you intend to use to supply images to the
television sets mentioned above. We would work with you to develop proper protocols to maintain the
video feeds and recordings thereof in a secure manner.

        We are hopeful that you will be able to adequately respond to our inquiries in this and my prior
letter. We hope to avoid litigation, but we must hear from you by noon tomorrow so that we are clear
about where the Board stands and what we must do.

       Thank you for your consideration.

                                                            Sincerely,

                                                            Andrew Teitelman

AT/s


                                                                                          EX A - 2
